

Bonem v William Penn Life Ins. Co. of N.Y. (2021 NY Slip Op 00227)





Bonem v William Penn Life Ins. Co. of N.Y.


2021 NY Slip Op 00227


Decided on January 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 14, 2021

Before: Manzanet-Daniels, J.P., Gische, Kapnick, Singh, Mendez, JJ. 


Index No. 653777/18 Appeal No. 12860-12860A Case No. 2020-00086, 2020-03668 

[*1]Julia Bonem, Plaintiff-Respondent,
vWilliam Penn Life Insurance Company of New York, Defendant-Appellant.


Bleakley Platt &amp; Schmidt, LLP, White Plains (Robert D. Meade of counsel), for appellant.
Schwartz, Conroy and Hack, P.C., Garden City (Evan S. Schwartz of counsel), for respondent.



Judgment, Supreme Court, New York County (Arthur F. Engoron, J.), entered August 17, 2020, awarding plaintiff $1 million on a life insurance policy, unanimously reversed, on the law, without costs, the judgment vacated, and the Clerk is directed to enter judgment declaring that plaintiff is not entitled to coverage under the policy. Appeal from order, same court and Justice, entered December 11, 2019, unanimously dismissed, without costs, as subsumed in the appeal from the judgment.
Plaintiff is not entitled to coverage under the subject insurance policy because the policy had lapsed before the insured's death. The clear and unambiguous terms of the policy provide that the due date for annual premiums is determined by reference to the "Policy Date," which was January 14, 2002  not January 31, 2002, the anniversary of the date on which the insured first received a physical copy of the policy, made his first premium payment, and coverage commenced (see Katz v American Mayflower Life Ins. Co. of N.Y., 14 AD3d 195 [1st Dept 2004], affd sub nom. Goldman v Metropolitan Life Ins. Co., 5 NY3d 561 [2005]). The insured failed to make the 2018 premium payment by January 14, and thus the 31-day grace period, which began on January 14, expired before the insured's death on February 26, 2018.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 14, 2021








